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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

KENNETH LAMBERT,                                     CV-20-70-M-DLC-KLD

                     Plaintiff,
                                                           JUDGMENT
vs.

ANDREW M. SAUL, Commissioner
of Social Security,

                     Defendant.


        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

  X    Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED that the Commissioner's decision is
 REVERSED. This matter is REMANDED pursuant to sentence four of 42 U.S.C.
 § 405(g) for further proceedings consistent with this Order and Judge DeSoto’s
 F&R. This case is now closed.

       Dated this 5th day of May, 2021.

                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Nicole Stephens
                                      Nicole Stephens, Deputy Clerk
